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                                                                                                        Attorneys for Plaintiffs E. Paul Whetten, et al.
                                                                                                    7
                                                                                                                           IN THE UNITED STATES DISTRICT COURT
                                                                                                    8
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                                                                                                                               FOR THE DISTRICT OF ARIZONA
                                                                                                    9
                                                                                                        E. PAUL WHETTEN, an individual;
                                                                                                   10                                              Case No.:
                                                                                                        ROBIN HARRIS, an individual; JOHN
                                                                                                   11   GILES, an individual; BARBARA                     VERIFIED COMPLAINT
                                                                                                        ABNEY, an individual; TRACI
                                                          One East Washington Street, Suite 2400




                                                                                                   12   BEAGLEY, an individual; DILWORTH
                                                                   Phoenix, AZ 85004




                                                                                                   13   C. BRINTON JR., an individual;
                                                                                                        CURTIS BROWN, an individual;
                                                                                                   14
                                                                                                        ALAYNE FAVREAU, an individual; J.
                                                                                                   15   GLADE SOELBERG, an individual;
                                                                                                   16   LARRY WINWARD, an individual;
                                                                                                        BRENT ELLSWORTH, an individual;
                                                                                                   17   DAVID RICKS, an individual;
                                                                                                   18   COLLEEN WHEELER, an individual;
                                                                                                        DREXDEN DAVIS, an individual;
                                                                                                   19
                                                                                                        BRIAN NISSEN, an individual; and
                                                                                                   20   ALAN SOELBERG, an individual,
                                                                                                   21                      Plaintiffs,
                                                                                                   22       v.
                                                                                                   23   MARICOPA COUNTY REPUBLICAN
                                                                                                        COMMITTEE, an unincorporated
                                                                                                   24   political committee; the
                                                                                                        INVESTIGATIVE COMMITTEE, an
                                                                                                   25   ad hoc subcommittee of the Maricopa
                                                                                                        County Republican Committee; and
                                                                                                   26   ROB HANEY, an individual,
                                                                                                   27                      Defendants,
                                                                                                   28
                                                                                                                                                   1
                                                                                                          Case 2:12-cv-02711-GMS Document 1 Filed 12/24/12 Page 2 of 22



                                                                                                    1         E. Paul Whetten, Robin Harris, John Giles, Larry Winward, Brent Ellsworth, David
                                                                                                    2   Ricks, Colleen Wheeler, Barbara Abney, Traci Beagley, Dilworth C. Brinton Jr., Curtis
                                                                                                    3   Brown, Drexden Davis, Alayne Favreau, Brian Nissen, Alan Soelberg, and J. Glade
                                                                                                    4   Soelberg (together, the “Plaintiffs”) bring this action against the Maricopa County
                                                                                                    5   Republican Committee (the “County Party”), the ad hoc investigative committee of the
                                                                                                    6   County Party (the “Investigative Committee”), and Rob Haney (the “County Chairman”
                                                                                                    7   and, together with the County Party and the Investigative Committee, the “Defendants”).
                                                                                                    8                                SUMMARY OF THE CASE
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                                                                                                    9         1.     On November 29, 2012, the Republican precinct committeemen (“PCs”) in
                                                                                                   10   Arizona legislative district 25 (“LD25”) held an organizational meeting to elect (a) a
                                                                                                   11   board of officers (the “LD25 Board of Officers”) to govern their internal affairs and (b)
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                                                                                                   12   State Committeemen to help govern the affairs of the Arizona Republican Party.
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                                                                                                   13         2.     After the meeting, the County Chairman appointed the Investigative
                                                                                                   14   Committee to investigate the two elections held in LD25.
                                                                                                   15         3.     After a cursory investigation, the County Chairman and the Investigative
                                                                                                   16   Committee purported to invalidate both elections in LD25 and to call a meeting of the PCs
                                                                                                   17   in LD25 to hold new elections for the board of officers and State Committeemen.
                                                                                                   18         4.     The purported invalidation by the County Chairman and the Investigative
                                                                                                   19   Committee is invalid and unlawful because, among other reasons:
                                                                                                   20                a. the Investigative Committee had received no complaints concerning the
                                                                                                   21                   conduct of the LD25 Board of Officers;
                                                                                                   22                b. the Investigative Committee was not authorized by statute or bylaws to
                                                                                                   23                   judge, investigate, supervise, or invalidate any elections in LD25;
                                                                                                   24                c. the Investigative Committee violated open meeting laws, proceeded
                                                                                                   25                   behind closed doors, and expelled a public observer;
                                                                                                   26                d. the   Investigative   Committee    conducted    a   patently   incomplete
                                                                                                   27                   investigation, and did not attempt to contact or interview individuals
                                                                                                   28
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                                                                                                    1                     whose actions were the ostensible basis for the invalidation of the LD25
                                                                                                    2                     elections;
                                                                                                    3                  e. the Investigative Committee did not provide adequate notice of its
                                                                                                    4                     meetings or decisions, or afford affected parties an opportunity to attend
                                                                                                    5                     the proceedings, present evidence, cross examine witnesses, or speak to
                                                                                                    6                     the issues in the investigation; and
                                                                                                    7                  f. the Investigative Committee at no point found, or even considered
                                                                                                    8                     whether, the irregularities ostensibly justifying invalidation of the LD25
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                                                                                                    9                     elections were material to the outcomes in the LD25 elections.
                                                                                                   10         5.       After announcing the purported invalidation of the LD25 elections, the
                                                                                                   11   County Chairman refused to provide records relating to the LD25 elections to duly elected
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                                                                                                   12   PCs from LD25 who were entitled to receive copies of such records.
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                                                                                                   13         6.       This lawsuit seeks to restore the rule of law to the County Party and the
                                                                                                   14   Republican Party in LD25, and to defend the statutory and constitutional voting rights of
                                                                                                   15   PCs in LD25.
                                                                                                   16                                          PLAINTIFFS
                                                                                                   17         7.       All the Plaintiffs are Republican PCs in LD25 who voted in person or by
                                                                                                   18   proxy in the LD25 elections on November 29.
                                                                                                   19         8.       E. Paul Whetten was elected Chairman of the Republican PCs in LD25 on
                                                                                                   20   November 29.
                                                                                                   21         9.       Robin Harris was elected First Vice Chairman of the Republican PCs in
                                                                                                   22   LD25 on November 29.
                                                                                                   23         10.      John Giles was elected Second Vice Chairman of the Republican PCs in
                                                                                                   24   LD25 on November 29.
                                                                                                   25         11.      Barbara Abney, Traci Beagley, Dilworth Brinton Jr., Curtis Brown, Alayne
                                                                                                   26   Favreau, J. Glade Soelberg, and Larry Winward were elected Third Vice Chairmen of the
                                                                                                   27   Republican PCs in LD25 on November 29.
                                                                                                   28
                                                                                                                                                      3
                                                                                                          Case 2:12-cv-02711-GMS Document 1 Filed 12/24/12 Page 4 of 22



                                                                                                    1          12.    Brent Ellsworth was elected Recording Secretary of the Republican PCs in
                                                                                                    2   LD25 on November 29.
                                                                                                    3          13.    David Ricks was elected Correspondence Secretary of the Republican PCs
                                                                                                    4   in LD25 on November 29.
                                                                                                    5          14.    Colleen Wheeler coordinated the collection of and submitted approximately
                                                                                                    6   135 signed forms (“Candidacy Declaration Forms”) formally declaring the candidacy of
                                                                                                    7   reputable PCs for positions on either the LD25 Board of Officers or the State Committee
                                                                                                    8   for the Arizona Republican Party in anticipation of the LD25 elections held on November
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                                                                                                    9   29.
                                                                                                   10                                          DEFENDANTS
                                                                                                   11          15.    The County Party is an unincorporated political organization through which
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                                                                                                   12   the affairs of the Republican Party are administered in Maricopa County, Arizona.
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                                                                                                   13          16.    The Investigative Committee is an ad hoc committee appointed by the
                                                                                                   14   County Chairman to investigate and invalidate the elections held in LD25 on November
                                                                                                   15   29.
                                                                                                   16          17.    The County Chairman is the Chairman of the County Party. He created the
                                                                                                   17   Investigative Committee and appointed its members.          The Investigative Committee
                                                                                                   18   operated at the sole discretion and under the control of the County Chairman.
                                                                                                   19                                 JURISDICTION AND VENUE
                                                                                                   20          18.    This Court has subject matter jurisdiction over Counts II, III, and V pursuant
                                                                                                   21   to 28 U.S.C. § 1331(a) because such claims arise under federal law, and pursuant to 28
                                                                                                   22   U.S.C. § 1343(a)(4) because such claims seek equitable relief under an Act of Congress
                                                                                                   23   providing for the protection of civil rights.
                                                                                                   24          19.    This Court has supplemental jurisdiction over Counts I, IV, VI, and VII
                                                                                                   25   pursuant to 28 U.S.C. § 1367(a) because those claims are so related to Counts II, III, and
                                                                                                   26   V that they form part of the same case or controversy.
                                                                                                   27          20.    The District of Arizona is the proper venue for this action pursuant to 28
                                                                                                   28   U.S.C. § 1391(b) because the Defendants reside in the District of Arizona, and because a
                                                                                                                                                        4
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                                                                                                    1   substantial part of the events or omissions giving rise to the claims occurred in the District
                                                                                                    2   of Arizona.
                                                                                                    3          21.    The Phoenix Division of this Court is the proper intra-district venue for this
                                                                                                    4   action pursuant to Local Rule of Civil Procedure 77.1 because the events underlying the
                                                                                                    5   claims in this action occurred in Maricopa County, Arizona.
                                                                                                    6          22.    A justiciable controversy exists because the Defendants have violated the
                                                                                                    7   rights of the Plaintiffs as winners of and voters in the LD25 elections, and as members of
                                                                                                    8   the Republican Party, and without judicial relief the Plaintiffs will suffer immediate injury
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                                                                                                    9   and loss of rights. There is an actual and justifiable controversy regarding the Plaintiffs’
                                                                                                   10   rights, and the judgment of this Court will end the controversy.
                                                                                                   11                                FACTUAL BASIS OF CLAIMS
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                                                                                                   12                      Organization of the Republican Party in Arizona
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                                                                                                   13          23.    Under Arizona law, every two years the Republican Party elects PCs in
                                                                                                   14   precincts across the state. See Ariz. Rev. Stat. § 16-822.
                                                                                                   15          24.    After being elected, the PCs in each legislative district in Maricopa County
                                                                                                   16   hold two intra-party elections to select party leadership:
                                                                                                   17                 a. First, they elect from their membership a board of officers (i.e., at least
                                                                                                   18                     one chairman, two vice chairmen, one secretary, and one treasurer) to
                                                                                                   19                     govern the internal affairs in the Republican Party in the legislative
                                                                                                   20                     district. Id. § 16-823; LD25 Bylaws § VII(B)-(C).
                                                                                                   21                 b. Second, they elect from their membership State Committeemen to help
                                                                                                   22                     govern the affairs of the Arizona Republican Party. Id. § 16-825; Ariz.
                                                                                                   23                     Republican Pty. Bylaws § II(A); County Party Bylaws § IV(1)(A).
                                                                                                   24          25.    In LD25, to become a candidate for either the LD25 Board of Officers or the
                                                                                                   25   State Committee, a PC must submit a Candidacy Declaration Form. If timely submitted,
                                                                                                   26   the PC’s name will be printed on the ballot for the LD25 Board of Officers election or the
                                                                                                   27   State Committeemen election, as appropriate. See LD25 Bylaws § VII(B)(1)(a).
                                                                                                   28
                                                                                                                                                      5
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                                                                                                    1          26.      After being elected in their LDs, the State Committeemen from across
                                                                                                    2   Maricopa County are certified by the County Party. See Ariz. Rev. Stat. § 16-825; County
                                                                                                    3   Party Bylaws § V(1)(A)(2).
                                                                                                    4          27.      The confirmation of the State Committeemen chosen in the individual LDs
                                                                                                    5   is, however, perfunctory. There is no process by which a PC in Maricopa County can be
                                                                                                    6   nominated for State Committeeman except through LD elections (assuming that an LD
                                                                                                    7   has, in fact, held LD elections),1 and the bylaws of the County Party do not even require
                                                                                                    8   the County Party to hold a formal vote certifying the State Committeemen selected in the
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                                                                                                    9   LDs. Although there is a process for the County Party to challenge the certification of a
                                                                                                   10   State Committeeman selected in an LD, the only basis for such a challenge is the failure
                                                                                                   11   of the State Committeeman to be an elected PC representing the LD that elected him or
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                                                                                                   12   her as a State Committeeman. Id. § V(1)(A)(2)-(3). In short, the process of selecting
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                                                                                                   13   State Committeemen in Maricopa County is the responsibility of the LDs and not the
                                                                                                   14   County Party.
                                                                                                   15          28.      In 2013, the certification of State Committeemen by the County Party,
                                                                                                   16   however nominal, will be held on January 12, 2013.
                                                                                                   17          29.      After certification by their counties, State Committeemen from across
                                                                                                   18   Arizona elect from their membership a chairman, a secretary, and a treasurer for the
                                                                                                   19   Arizona Republican Party. See Ariz. Rev. Stat. § 16-826(A).
                                                                                                   20          30.      In 2013, the election of the chairman of the Arizona Republican Party will
                                                                                                   21   be held on January 26, 2013.
                                                                                                   22          31.      A true and correct copy of the bylaws of the Arizona Republican Party is
                                                                                                   23   attached hereto as Exhibit A.
                                                                                                   24          32.      A true and correct copy of the bylaws of the County Party is attached hereto
                                                                                                   25   as Exhibit B.
                                                                                                   26
                                                                                                        1
                                                                                                              In the absence of an LD election for State Committeeman, the LD chairman or the
                                                                                                   27   County Chairman may nominate PCs for the position of State Committeeman, see County
                                                                                                        Party Bylaws § IV(1)(A)(3)-(4)—but nominations from the floor of County Party
                                                                                                   28   meetings are not authorized.
                                                                                                                                                      6
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                                                                                                    1          33.    A true and correct copy of the bylaws for the Republican Party in LD25 is
                                                                                                    2   attached hereto as Exhibit C.
                                                                                                    3                                 LD25 Board of Officers Election
                                                                                                    4          34.    On the evening of November 29, 2012, the PCs in LD25 gathered to elect
                                                                                                    5   State Committeemen and the LD25 Board of Officers.
                                                                                                    6          35.    As a general matter, for several years the board of officers and State
                                                                                                    7   Committeemen elections in LD25 have been dominated by two political factions. One
                                                                                                    8   faction is comprised of PCs aligned with Russell Pearce, a PC in LD25. Pearce, formerly
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                                                                                                    9   the President of the Arizona State Senate and an outspoken supporter of anti-immigration
                                                                                                   10   laws, was recalled from office in 2011 and decisively lost a reelection bid in the 2012
                                                                                                   11   Republican primary election. The other faction is not aligned with Pearce, and generally
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                                                                                                   12   supports candidates who, although conservative, place greater emphasis on economic
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                                                                                                   13   policy and “big tent” Republican principles and less emphasis on social “wedge” issues.
                                                                                                   14   As a general matter, the Plaintiffs fall in the latter category.
                                                                                                   15          36.    According to local custom and rules, the credentials of attendees and the
                                                                                                   16   propriety of proxy authorization forms were verified by the Credentials and Tally
                                                                                                   17   Committee for LD25 before voting began.
                                                                                                   18          37.    In the LD25 Board of Officers election, the PCs in LD25 elected the
                                                                                                   19   following:
                                                                                                   20                 a. Plaintiff E. Paul Whetten as Chairman,
                                                                                                   21                 b. Plaintiff Robin Harris as First Vice Chairman,
                                                                                                   22                 c. Plaintiff John Giles as Second Vice Chairman,
                                                                                                   23                 d. Plaintiff Barbara Abney, Plaintiff Traci Beagley, Plaintiff Dilworth
                                                                                                   24                     Brinton Jr., Plaintiff Curtis Brown, Plaintiff Alayne Favreau, Larry
                                                                                                   25                     Lesueur, Pat Oldroyd, Plaintiff J. Glade Soelberg, and Plaintiff Larry
                                                                                                   26                     Winward as Third Vice Chairmen,
                                                                                                   27                 e. Tyler Godfrey as Treasurer,
                                                                                                   28                 f. Plaintiff Brent Ellsworth as Recording Secretary, and
                                                                                                                                                        7
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                                                                                                    1                   g. Plaintiff David Ricks as Correspondence Secretary.
                                                                                                    2             38.   These results represented a decisive rejection of the LD25 faction aligned
                                                                                                    3   with Russell Pearce, and significant gains for the LD25 faction not aligned with Russell
                                                                                                    4   Pearce.
                                                                                                    5             39.   The results of the election were certified that night.
                                                                                                    6             40.   Plaintiff Whetten was sworn in as Chairman before leaving the voting site,
                                                                                                    7   and took office immediately.
                                                                                                    8             41.   No irregularities in the LD25 Board of Officers election were raised or
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                                                                                                    9   noted on the night of the election.
                                                                                                   10                                  State Committeemen Elections
                                                                                                   11             42.   While ballots for the LD25 Board of Officers elections were being counted,
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                                                                                                   12   the PCs in LD25 began the State Committeemen elections.
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                                                                                                   13             43.   Before balloting for the State Committeemen elections began, however, the
                                                                                                   14   County Chairman announced to the PCs in LD25 that Candidacy Declaration Forms had
                                                                                                   15   been submitted in the name, but without the authorization or signature, of five PCs.
                                                                                                   16             44.   The names of those five PCs were removed from the State Committeemen
                                                                                                   17   ballot.
                                                                                                   18             45.   The County Chairman announced to the PCs that, if anyone else’s name
                                                                                                   19   appeared on the State Committeemen ballot without their authorization, they should notify
                                                                                                   20   the County Chairman immediately.
                                                                                                   21             46.   Some of the PCs present, whose names appeared on the State
                                                                                                   22   Committeemen ballot, reported that they had not signed a Candidacy Declaration Form.
                                                                                                   23   The names of those PCs were written on a whiteboard at the front of the room, so that the
                                                                                                   24   PCs in attendance would know that the individuals listed were not, in fact, candidates.
                                                                                                   25   None of the PCs reporting that they had not signed a Candidacy Declaration Form were
                                                                                                   26   elected as State Committeemen.
                                                                                                   27             47.   The PCs cast their ballots for State Committeemen, the ballots were
                                                                                                   28   counted, and winners were declared.
                                                                                                                                                        8
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                                                                                                    1          48.      The results of the State Committeemen elections, like the results of the
                                                                                                    2   LD25 Board of Officers elections, represented significant losses for the LD25 faction
                                                                                                    3   aligned with Russell Pearce and significant gains for the LD25 faction not aligned with
                                                                                                    4   Russell Pearce.
                                                                                                    5                            State Committeemen Election Challenge
                                                                                                    6          49.      The afternoon following the elections, and at the direction of the County
                                                                                                    7   Chairman, the outgoing First Vice Chairman of LD25 sent an e-mail to all the PCs in
                                                                                                    8   LD25, indicating that the County Chairman “has asked that LD-25 be notified that there is
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                                                                                                    9   a possibility of the November 29 election of the LD-25 Board, the LD-25 State
                                                                                                   10   Committeemen and the amendments to the Bylaws may be ruled invalid due to voter
                                                                                                   11   fraud.”
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                                                                                                   12          50.      The County Chairman caused the e-mail to be sent on his own initiative,
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                                                                                                   13   before any challenges to the November 29 election had been filed.
                                                                                                   14          51.      On December 4, 2012, Plaintiff Ellsworth delivered to the County Chairman
                                                                                                   15   a written challenge to the State Committeemen elections.
                                                                                                   16          52.      Plaintiff Ellsworth’s challenge alleged that the County Chairman’s
                                                                                                   17   allegation of “voter fraud” had called into question the legitimacy of the State
                                                                                                   18   Committeemen election, and therefore requests an investigation to clear any suspicions of
                                                                                                   19   impropriety and restore confidence in the integrity of the LD25 elections.
                                                                                                   20          53.      A true and correct copy of Plaintiff Ellsworth’s challenge is attached hereto
                                                                                                   21   as Exhibit D.
                                                                                                   22          54.      No challenges to the LD25 Board of Officers election were filed.
                                                                                                   23                    Bias and Lack of Transparency During the Investigation
                                                                                                   24          55.      The County Chairman appointed certain individuals, including Plaintiff
                                                                                                   25   Whetten, to the ad hoc Investigative Committee to investigate the propriety of the LD25
                                                                                                   26   elections.
                                                                                                   27          56.      The outgoing Chairwoman of the LD25 Board of Officers asked the County
                                                                                                   28   Chairman to appoint to the Investigative Committee three persons, including Plaintiffs
                                                                                                                                                      9
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                                                                                                    1   Wheeler and Soelberg, who were familiar with the collection of Candidacy Declaration
                                                                                                    2   Forms and proxy designation forms for the November 29 elections. The three individuals
                                                                                                    3   suggested by the outgoing chairwoman were not aligned with Russell Pearce.
                                                                                                    4          57.    The County Chairman refused to appoint them to the Investigative
                                                                                                    5   Committee. This decision benefitted the LD25 faction aligned with Russell Pearce by
                                                                                                    6   severely limiting the representation on the Investigative Committee of PCs who were not
                                                                                                    7   aligned with Russell Pearce.
                                                                                                    8          58.    The Investigative Committee met on December 5-7, 2012.
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                                                                                                    9          59.    The Investigative Committee did not provide advance public notice of its
                                                                                                   10   meeting dates, times, and locations.
                                                                                                   11          60.    On December 5, Plaintiff Ellsworth, who had filed the challenge to the State
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                                                                                                   12   Committeemen election, attempted to attend the first meeting of the Investigative
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                                                                                                   13   Committee to observe the investigation.
                                                                                                   14          61.    The County Chairman directed Plaintiff Ellsworth to leave the site of the
                                                                                                   15   meeting and not observe its activities.
                                                                                                   16          62.    The Arizona Republican Party, however, has determined that the meetings
                                                                                                   17   of elected Republican Party officials are subject to Arizona’s open meeting laws.
                                                                                                   18          63.    A true and correct copy of a letter from Tom Morrissey, the Chairman of the
                                                                                                   19   Arizona Republican Party, concerning the applicability of Arizona’s open meeting laws to
                                                                                                   20   Republican Party meetings is attached hereto as Exhibit E.
                                                                                                   21                                  Invalidation of Both Elections
                                                                                                   22          64.    At the end of the Investigative Committee’s three-day investigation, the
                                                                                                   23   County Chairman concluded that “a number of signatures on the [Candidacy Declaration
                                                                                                   24   Forms] and the [proxy designation forms] did not match the signatures on record from the
                                                                                                   25   County Recorder’s office.”
                                                                                                   26          65.    This conclusion that certain signatures “did not match” was, in some
                                                                                                   27   instances, unsupported by any substantial evidence and reached in bad faith. None of the
                                                                                                   28   handwriting analysis was supported by an expert or other qualified reviewer, and the
                                                                                                                                                    10
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                                                                                                    1   Investigative Committee failed to interview any of the individuals whose signatures were
                                                                                                    2   under review to inquire as to authenticity of the signatures in question.
                                                                                                    3           66.    The Investigative Committee conducted its entire investigation behind
                                                                                                    4   closed doors, without any opportunity for affected PCs and candidates to attend or
                                                                                                    5   participate in the investigation, and without any finding that any errors in the elections
                                                                                                    6   were material to the results of the elections.
                                                                                                    7           67.    The Defendants concluded that there were enough “irregularities” to
                                                                                                    8   invalidate the State Committeemen election.2
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                                                                                                    9           68.    The Defendants further concluded that the LD25 Board of Officers election
                                                                                                   10   was invalid.
                                                                                                   11           69.    The County Chairman concluded the investigation and purported to
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                                                                                                   12   invalidate the LD25 Board of Officers election without calling for a formal vote by the
                                                                   Phoenix, AZ 85004




                                                                                                   13   appointed members of the investigative committee.
                                                                                                   14           70.    The Defendants’ decision to invalidate the LD25 Board of Officers election
                                                                                                   15   benefitted the candidates aligned with Russell Pearce, as it would give them a second
                                                                                                   16   opportunity to turn out supporters and win election. Similarly, that decision damaged the
                                                                                                   17   LD25 Board of Officers who won that night, as they were purportedly stripped of
                                                                                                   18   authority to exercise the powers of offices to which they were duly elected.
                                                                                                   19           71.    Although he was a member of the Investigative Committee, Plaintiff
                                                                                                   20   Whetten opposes the methods, conclusions, and purported actions of the Investigative
                                                                                                   21   Committee and would vote against invalidation of the LD25 Board of Officers election if
                                                                                                   22   the County Chairman called for a formal vote by the members of the Investigative
                                                                                                   23   Committee.
                                                                                                   24           72.    On December 9, 2012, the County Chairman caused an e-mail to be sent to
                                                                                                   25   the PCs in LD25, by the outgoing LD25 First Vice Chairman on behalf of the
                                                                                                   26
                                                                                                        2
                                                                                                   27          The plaintiffs do not contend that the State Committeemen election held in LD25
                                                                                                        on November 29, 2012 was valid. Consequently, the validity of the State Committeemen
                                                                                                   28   election is not at issue in this lawsuit, and is being addressed outside the judicial system.
                                                                                                                                                         11
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                                                                                                    1   Investigative Committee, purporting to invalidate both the LD25 Board of Officers
                                                                                                    2   election and the State Committeemen election.
                                                                                                    3           73.   A true and correct copy of such e-mail is attached hereto as Exhibit F.
                                                                                                    4           74.   The e-mail stated that the outgoing LD25 Board of Officers, rather than the
                                                                                                    5   LD25 Board of Officers elected on November 29, would preside over new elections in
                                                                                                    6   LD25.
                                                                                                    7                           Conflicting Plans for the New Elections
                                                                                                    8           75.   There are currently two separate groups planning for new elections in LD25.
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                                                                                                    9           76.   First, more than ten percent of the PCs in LD25 have formally noticed a
                                                                                                   10   meeting of the PCs in LD25 for January 2, 2013 (the “January 2 Meeting”)—which, under
                                                                                                   11   the bylaws of the County party, is the last day on which LD25 can elect State
                                                          One East Washington Street, Suite 2400




                                                                                                   12   Committeemen. The LD25 Board of Officers elected on November 29 will preside at the
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                                                                                                   13   January 2 Meeting. The purpose of the January 2 Meeting will be, in part, to validly elect
                                                                                                   14   State Committeemen. The January 2 Meeting will interpret and strictly follow the duly
                                                                                                   15   adopted bylaws of the Republican Party in LD25.
                                                                                                   16           77.   A true and correct copy of the notice of the January 2 Meeting is attached
                                                                                                   17   hereto as Exhibit G.
                                                                                                   18           78.   Second, the County Chairman is planning to hold a meeting of the PCs in
                                                                                                   19   LD25 on January 9, 2013 (the “January 9 Meeting”).
                                                                                                   20           79.   On December 17, 2012, the County Chairman caused the outgoing LD25
                                                                                                   21   First Vice Chairman to send a notice of new elections at the January 9 Meeting to the PCs
                                                                                                   22   in LD25.
                                                                                                   23           80.   The notice of the January 9 Meeting did not follow the notice requirements
                                                                                                   24   set forth in Republican Party bylaws. Specifically, the notice was not transmitted in hard
                                                                                                   25   copy, was not sent to all the PCs in LD25, did not identify all the candidates who would
                                                                                                   26   be eligible for election, scheduled the meeting fewer than 10 days before the
                                                                                                   27   organizational meeting of the County Party, and was not issued by at least ten percent of
                                                                                                   28
                                                                                                                                                    12
                                                                                                         Case 2:12-cv-02711-GMS Document 1 Filed 12/24/12 Page 13 of 22



                                                                                                    1   the PCs in LD25. See County Party Bylaws §§ II(4)(E), IV(1)(A)(2); LD25 Bylaws §
                                                                                                    2   VII(C)(1).
                                                                                                    3          81.    The notice purports to establish new rules, which are in conflict with the
                                                                                                    4   bylaws of the Republican Party for LD25, for the elections to be held at the January 9
                                                                                                    5   Meeting.     Specifically, the notice reopens the period for submitting Candidacy
                                                                                                    6   Declaration Forms; rather than limiting the list of eligible candidates to those who were
                                                                                                    7   qualified as of the date of the November 29 election, the notice purports to start anew and
                                                                                                    8   permit all interested PCs to submit new Candidacy Declaration Forms regardless of
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                                                                                                    9   whether they previously complied with the ballot-access requirements.
                                                                                                   10          82.    The Defendants’ decision to reopen the period for submitting Candidacy
                                                                                                   11   Declaration Forms violates the bylaws of the Republican Party in LD25. That decision
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                                                                                                   12   benefits the candidates aligned with Russell Pearce, many of whom failed to submit the
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                                                                                                   13   required Candidacy Declaration Forms in time for the November 29 election.             The
                                                                                                   14   decision also harms the candidates not aligned with Russell Pearce, virtually all of whom
                                                                                                   15   timely submitted Candidacy Declaration Forms for the November 29 election.
                                                                                                   16          83.    A true and correct copy of the notice of the January 9 Meeting is attached
                                                                                                   17   hereto as Exhibit H.
                                                                                                   18          84.    In explaining his decision to the media, the County Chairman further noted
                                                                                                   19   that there would “probably” be deputies from the Maricopa County Sheriff’s Office in
                                                                                                   20   attendance at the January 9 Meeting, ready to become involved if anything “untoward”
                                                                                                   21   happens.
                                                                                                   22          85.    A true and correct copy of a media report of the County Chairman’s
                                                                                                   23   interview is attached hereto as Exhibit I.
                                                                                                   24          86.    On information and belief, none of the changes in elections regulations
                                                                                                   25   enacted or administered by the Defendants with respect to the November 29 elections or
                                                                                                   26   the January 9 Meeting have been “precleared” by the U.S. Department of Justice or the
                                                                                                   27   U.S. District Court for the District of Columbia. See generally 42 U.S.C. § 1973C.
                                                                                                   28
                                                                                                                                                     13
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                                                                                                    1                               Improper Concealment of Evidence
                                                                                                    2         87.       After the November 29 elections, the records of the elections should have
                                                                                                    3   been held in the custody of the LD25 Credentials and Tally Committee. See County Party
                                                                                                    4   Bylaws § IV(2)(C)(3).
                                                                                                    5         88.       The chairman of the Credentialing and Tally Committee for LD25 turned
                                                                                                    6   the records over to the County Chairman.
                                                                                                    7         89.       On December 11, 2012, Brian Nissen, a PC in LD25, submitted a written
                                                                                                    8   request to the County Chairman for copies of the records of the November 29 election.
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                                                                                                    9         90.       A true and correct copy of Nissen’s request is attached hereto as Exhibit J.
                                                                                                   10         91.       The possessor of the records of the November 29 election is required to
                                                                                                   11   provide copies of the requested records to Nissen no later than December 14, 2012. See
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                                                                                                   12   County Party Bylaws § IV(2)(C)(3).
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                                                                                                   13         92.       To date, the County Chairman has not provided copies of the requested
                                                                                                   14   records or otherwise responded to Nissen’s request.
                                                                                                   15                                   COUNT I
                                                                                                   16    ARIZ REV. STAT. §§ 12-1831 TO -1832: DECLARATORY AND INJUNCTIVE
                                                                                                         RELIEF FOR EXCEEDING AUTHORITY UNDER STATE ELECTION LAWS
                                                                                                   17                    AND REPUBLICAN PARTY BYLAWS
                                                                                                                                     (All Defendants)
                                                                                                   18
                                                                                                              93.       The allegations set forth in the preceding paragraphs are incorporated herein
                                                                                                   19
                                                                                                        by reference.
                                                                                                   20
                                                                                                              94.       Under Ariz. Rev. Stat. § 16-823(C), the PCs in LD25 are entitled to elect the
                                                                                                   21
                                                                                                        LD25 Board of Officers.
                                                                                                   22
                                                                                                              95.       The Investigative Committee lacked authority under state law, the bylaws of
                                                                                                   23
                                                                                                        the Republican Party of Arizona, the bylaws of the County Party, and the bylaws of the
                                                                                                   24
                                                                                                        Republican Party in LD25 to invalidate the LD25 Board of Officers election.
                                                                                                   25
                                                                                                              96.       The Plaintiffs are therefore entitled to declaratory and injunctive relief
                                                                                                   26
                                                                                                        against the Defendants pursuant to Ariz. Rev. Stat. § 12-1831 to -1832 nullifying the
                                                                                                   27

                                                                                                   28
                                                                                                                                                      14
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                                                                                                    1   Defendants’ interference with and purported invalidation of the LD25 Board of Officers
                                                                                                    2   election.
                                                                                                    3                                  COUNT II
                                                                                                    4   42 U.S.C. § 1973C: DECLARATORY AND INJUNCTIVE RELIEF FOR FAILURE
                                                                                                            TO PRECLEAR CHANGES IN ELECTIONS LAW AND PROCEDURES
                                                                                                    5            GOVERNING THE LD25 BOARD OF OFFICERS ELECTIONS
                                                                                                                                    (All Defendants)
                                                                                                    6
                                                                                                               97.      The allegations set forth in the preceding paragraphs are incorporated herein
                                                                                                    7
                                                                                                        by reference.
                                                                                                    8
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                                                                                                               98.      The Investigative Committee enacted and administered numerous changes
                                                                                                    9
                                                                                                        in the procedures governing the LD25 Board of Officers elections, including without
                                                                                                   10
                                                                                                        limitation:
                                                                                                   11
                                                                                                                        a. allowing an investigation of LD25 Board of Officers elections to be
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                                                                                                   12
                                                                                                                           opened absent a complaint;
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                                                                                                   13
                                                                                                                        b. creating a new body (i.e., the Investigative Committee) with
                                                                                                   14
                                                                                                                           responsibility to investigate LD25 Board of Officers elections;
                                                                                                   15
                                                                                                                        c. judging and invalidating the results of the LD25 Board of Officers
                                                                                                   16
                                                                                                                           elections;
                                                                                                   17
                                                                                                                        d. vesting authority to oversee new LD25 Board of Officers elections with
                                                                                                   18
                                                                                                                           the outgoing LD25 Board of Officers; and
                                                                                                   19
                                                                                                                        e. replacing the LD25 bylaws concerning the necessary qualifications for
                                                                                                   20
                                                                                                                           LD25 Board of Officers candidates with candidate-qualification
                                                                                                   21
                                                                                                                           directives from the County Chairman.
                                                                                                   22
                                                                                                               99.      By implementing changes in elections rules and procedures concerning the
                                                                                                   23
                                                                                                        LD25 Board of Officers elections without prior “preclearance,” the Investigative
                                                                                                   24
                                                                                                        Committee violated the Plaintiffs’ right to hold office on the LD25 Board of Officers and
                                                                                                   25
                                                                                                        to have their vote for candidates for the LD25 Board of Elections fairly counted, as
                                                                                                   26
                                                                                                        protected by 42 U.S.C. § 1973C; 28 C.F.R. § 51.7; 28 C.F.R. § 51.13(a)-(b), (g), and (l);
                                                                                                   27
                                                                                                        and 28 C.F.R. 51 app.
                                                                                                   28
                                                                                                                                                      15
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                                                                                                    1            100.   The Plaintiffs therefore have a claim, and are entitled to declaratory and
                                                                                                    2   injunctive relief, against the Defendants pursuant to 42 U.S.C. § 1973C for violations of
                                                                                                    3   the preclearance requirement, and pursuant to 42 U.S.C. § 1973L for attorney’s fees and
                                                                                                    4   costs.
                                                                                                    5                                  COUNT III
                                                                                                    6        42 U.S.C. § 1983: DECLARATORY AND INJUNCTIVE RELIEF FOR
                                                                                                         VIOLATIONS OF FEDERAL RIGHTS ARISING UNDER THE DUE PROCESS
                                                                                                    7                                   CLAUSES
                                                                                                                                     (All Defendants)
                                                                                                    8
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                                                                                                                 101.   The allegations set forth in the preceding paragraphs are incorporated herein
                                                                                                    9
                                                                                                        by reference.
                                                                                                   10
                                                                                                                 102.   In investigating and purporting to invalidate the LD25 elections, the
                                                                                                   11
                                                                                                        Investigative Committee violated the Plaintiffs’ right to due process under the Due
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                                                                                                   12
                                                                                                        Process Clauses of the Fifth and Fourteenth Amendments of U.S. Constitution.
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                                                                                                   13
                                                                                                                 103.   The defects in the investigation and purported invalidation of the
                                                                                                   14
                                                                                                        Investigative Committee include but were not limited to the following:
                                                                                                   15
                                                                                                                        a. the Investigative Committee did not provide advance notice of its
                                                                                                   16
                                                                                                                           meetings or the scope of its investigation and authority;
                                                                                                   17
                                                                                                                        b. the Investigative Committee failed to allow interested parties to appear,
                                                                                                   18
                                                                                                                           present evidence, cross examine witnesses, or speak to the issues under
                                                                                                   19
                                                                                                                           consideration;
                                                                                                   20
                                                                                                                        c. the Investigative Committee concluded its investigation and purported to
                                                                                                   21
                                                                                                                           invalidate the LD25 elections without a formal vote of its members;
                                                                                                   22
                                                                                                                        d. the Investigative Committee failed to find that the purported
                                                                                                   23
                                                                                                                           irregularities on which the Investigative Committee relied in invalidating
                                                                                                   24
                                                                                                                           the LD25 elections were material to the outcomes in the LD25 elections;
                                                                                                   25
                                                                                                                           and
                                                                                                   26
                                                                                                                        e. the Investigative Committee did not provide adequate notice of its
                                                                                                   27
                                                                                                                           findings and actions.
                                                                                                   28
                                                                                                                                                      16
                                                                                                         Case 2:12-cv-02711-GMS Document 1 Filed 12/24/12 Page 17 of 22



                                                                                                    1            104.   In investigating and purporting to invalidate the LD25 elections, the
                                                                                                    2   Defendants’ conduct at all times constituted state action taken under color of state law.
                                                                                                    3            105.   The Plaintiffs therefore have a claim, and are entitled to declaratory and
                                                                                                    4   injunctive relief, against the Defendants pursuant to 42 U.S.C. § 1983 for deprivation of
                                                                                                    5   federal rights under color of state law, and pursuant to 42 U.S.C. § 1988 for attorney’s
                                                                                                    6   fees and costs.
                                                                                                    7                                   COUNT IV
                                                                                                    8     ARIZ REV. STAT. §§ 12-1831 TO -1832: DECLARATORY AND INJUNCTIVE
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                                                                                                                 RELIEF FOR VIOLATIONS OF OPEN MEETINGS LAWS
                                                                                                    9                                 (All Defendants)
                                                                                                   10            106.   The allegations set forth in the preceding paragraphs are incorporated herein
                                                                                                   11   by reference.
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                                                                                                   12            107.   Under Ariz. Rev. Stat. § 38-431.01, the Investigative Committee was
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                                                                                                   13   required to conduct its investigation and reach its decisions in the open, with advance
                                                                                                   14   notice and opportunity for the public to attend and speak.
                                                                                                   15            108.   By failing to do so, and by ejecting interested members of the public who
                                                                                                   16   wished to observe its proceeding, the Investigative Committee rendered all its actions null
                                                                                                   17   and void pursuant to Ariz. Rev. Stat. § 38-431.05.
                                                                                                   18            109.   The Plaintiffs are therefore entitled to declaratory and injunctive relief
                                                                                                   19   against the Defendants pursuant to Ariz. Rev. Stat. §§ 12-1831 to -1832 for violations of
                                                                                                   20   open meetings laws, and pursuant to Ariz. Rev. Stat. § 12-348 for attorney’s fees and
                                                                                                   21   costs.
                                                                                                   22                                  COUNT V
                                                                                                   23   42 U.S.C. § 1973C: DECLARATORY AND INJUNCTIVE RELIEF FOR FAILURE
                                                                                                            TO PRECLEAR CHANGES IN ELECTIONS LAW AND PROCEDURES
                                                                                                   24             GOVERNING THE STATE COMMITTEEMEN ELECTIONS
                                                                                                                                    (All Defendants)
                                                                                                   25
                                                                                                                 110.   The allegations set forth in the preceding paragraphs are incorporated herein
                                                                                                   26
                                                                                                        by reference.
                                                                                                   27

                                                                                                   28
                                                                                                                                                      17
                                                                                                         Case 2:12-cv-02711-GMS Document 1 Filed 12/24/12 Page 18 of 22



                                                                                                    1            111.   The Investigative Committee enacted and administered numerous changes
                                                                                                    2   in the procedures governing the State Committeemen elections, including without
                                                                                                    3   limitation:
                                                                                                    4                   a. vesting authority to oversee new State Committeemen elections in LD25
                                                                                                    5                      with the outgoing LD25 Board of Officers; and
                                                                                                    6                   b. replacing the LD25 bylaws concerning the necessary qualifications for
                                                                                                    7                      State Committeemen candidates in LD25 with candidate-qualification
                                                                                                    8                      directives from the County Chairman.
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                                                                                                    9            112.   By implementing changes in elections rules and procedures concerning the
                                                                                                   10   State Committeemen elections in LD25 without prior “preclearance,” the Investigative
                                                                                                   11   Committee violated the Plaintiffs’ right to hold office on the State Committee and to have
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                                                                                                   12   their vote for candidates for State Committeemen fairly counted, as protected by 42
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                                                                                                   13   U.S.C. § 1973C; 28 C.F.R. § 51.7; 28 C.F.R. § 51.13(a)-(b), (g), and (l); and 28 C.F.R. 51
                                                                                                   14   app.
                                                                                                   15            113.   The Plaintiffs therefore have a claim, and are entitled to declaratory and
                                                                                                   16   injunctive relief, against the Defendants pursuant to 42 U.S.C. § 1973C for violations of
                                                                                                   17   the preclearance requirement, and pursuant to 42 U.S.C. § 1973L for attorney’s fees and
                                                                                                   18   costs.
                                                                                                   19                                   COUNT VI
                                                                                                   20     ARIZ REV. STAT. §§ 12-1831 TO -1832: DECLARATORY AND INJUNCTIVE
                                                                                                             RELIEF CONCERNING THE PROPRIETY OF MEETING NOTICES
                                                                                                   21                                 (All Defendants)
                                                                                                   22            114.   The allegations set forth in the preceding paragraphs are incorporated herein
                                                                                                   23   by reference.
                                                                                                   24            115.   Notices of any meetings at which the PCs of LD25 will complete the
                                                                                                   25   elections of the LD25 Board of Officers and State Committeemen must:
                                                                                                   26                   a. be mailed in hard copy, see LD25 Bylaws § VII(C)(1);
                                                                                                   27                   b. be transmitted to all the PCs in LD25, see County Party Bylaws §
                                                                                                   28                      II(4)(E);
                                                                                                                                                      18
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                                                                                                    1                   c. identify the PCs who will be eligible for election, see LD25 Bylaws §
                                                                                                    2                      VII(C)(1);
                                                                                                    3                   d. set a date for the meeting that is at least 10 day prior to the
                                                                                                    4                      organizational meeting of the County Party, see County Party Bylaws §
                                                                                                    5                      IV(1)(A)(2); and
                                                                                                    6                   e. be issued by (i) the Chairman of the Republican Party of LD25 within 5
                                                                                                    7                      days of the November 29 meeting, (ii) the County Chairman 6 to 10 days
                                                                                                    8                      after the November 29 meeting, or (iii) at least ten percent of the PCs in
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                                                                                                    9                      LD25 at least 11 days after the November 29 meeting, see County Party
                                                                                                   10                      Bylaws § II(4)(E).
                                                                                                   11          116.     The notice transmitted in respect of the January 2 Meeting satisfies all the
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                                                                                                   12   foregoing requirements.
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                                                                                                   13          117.     The notice transmitted in respect of the January 9 Meeting fails to satisfy
                                                                                                   14   any of the foregoing requirements.
                                                                                                   15          118.     The Plaintiffs are therefore entitled to declaratory and injunctive relief
                                                                                                   16   against the Defendants pursuant to Ariz. Rev. Stat. §§ 12-1831 to -1832 that the notice
                                                                                                   17   transmitted in respect of the January 2 Meeting is valid and that the notice transmitted in
                                                                                                   18   respect of the January 9 Meeting is null and void, and pursuant to Ariz. Rev. Stat. § 12-
                                                                                                   19   348 for attorney’s fees and costs.
                                                                                                   20                                  COUNT VII
                                                                                                   21     ARIZ REV. STAT. §§ 12-1831 TO -1832: DECLARATORY AND INJUNCTIVE
                                                                                                              RELIEF FOR VIOLATIONS OF RECORDS-INSPECTION RIGHTS
                                                                                                   22                             (The County Chairman)
                                                                                                   23          119.     The allegations set forth in the preceding paragraphs are incorporated herein
                                                                                                   24   by reference.
                                                                                                   25          120.     Under County Party Bylaws § IV(2)(C)(3), the Credentials and Tally
                                                                                                   26   Committee for LD25 is required to (a) maintain custody of records relating to the
                                                                                                   27   November 29 election for three months and (b) and provide copies of such records to any
                                                                                                   28   PC from LD25, upon written request, within three days.
                                                                                                                                                      19
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                                                                                                    1          121.   The County Chairman is improperly maintaining possession of the records
                                                                                                    2   relating to the November 29 election.
                                                                                                    3          122.   The County Chairman is further refusing to respond to duly submitted
                                                                                                    4   requests from Nissen for copies of records relating to the November 29 election.
                                                                                                    5          123.   Nissen is therefore entitled to declaratory and injunctive relief against the
                                                                                                    6   County Chairman pursuant to Ariz. Rev. Stat. §§ 12-1831 to -1832 for violations of
                                                                                                    7   Nissen’s right to inspect the books and records of the Republican Party, and pursuant to
                                                                                                    8   Ariz. Rev. Stat. §§ 12-341.01 and -348 for attorney’s fees and costs.
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                                                                                                    9                                    DEMAND FOR RELIEF
                                                                                                   10          124.   WHEREFORE, the Plaintiffs demand relief in the following forms:
                                                                                                   11                 f. a declaration pursuant to 28 U.S.C. § 2201 and Ariz. Rev. Stat. § 12-
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                                                                                                   12                    1831 to -1832 that:
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                                                                                                   13                        i. the individuals elected to the LD25 Board of Officers election at
                                                                                                   14                            the November 29 meeting of the LD25 PCs were duly elected,
                                                                                                   15                            and are entitled to all the rights and privileges of their respective
                                                                                                   16                            officers;
                                                                                                   17                       ii. the County Chairman may not amend, suspend, or replace all or
                                                                                                   18                            any portion of the bylaws of the Republican Party in LD25
                                                                                                   19                            without the approval of the PCs in LD25 or preclearance;
                                                                                                   20                       iii. the PCs in LD25 may conduct business at the January 2 Meeting;
                                                                                                   21                       iv. any business conducted at the January 9 Meeting is null and void;
                                                                                                   22                            and
                                                                                                   23                       v. Nissen is entitled to receive copies of the requested records
                                                                                                   24                            immediately.
                                                                                                   25                 g. an order pursuant to 28 U.S.C. § 2202 and Ariz. Rev. Stat. § 12-1801
                                                                                                   26                    that:
                                                                                                   27                        i. directs the Defendants to recognize the rights, privileges, and
                                                                                                   28                            official acts of, and to refrain from replacing or attempting to
                                                                                                                                                     20
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                                                                                                    1                       replace, the LD25 Board of Officers elected at the November 29
                                                                                                    2                       meeting;
                                                                                                    3                   ii. directs the Defendants and their agents to enforce the bylaws of
                                                                                                    4                       the Republican Party in LD25, and to refrain from purporting to
                                                                                                    5                       replace such bylaws with directives not precleared or duly
                                                                                                    6                       approved by the majority of PCs in LD25;
                                                                                                    7                   iii. prohibits the PCs of LD25 from taking any action, or enforcing
                                                                                                    8                       any decisions taken, at the January 9 Meeting; and
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                                                                                                    9                   iv. directs the County Chairman immediately to provide to Nissen
                                                                                                   10                       copies of the records requested by Nissen.
                                                                                                   11             h. an award of reasonable attorney’s fees and costs pursuant to 42 U.S.C.
                                                          One East Washington Street, Suite 2400




                                                                                                   12                §§ 1973C and 1988(b), Ariz. Rev. Stat. §§ 12- -341.01 and 348, the
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                                                                                                   13                private attorney general doctrine, and other applicable law; and
                                                                                                   14             i. such other relief as the Court deems necessary, equitable, proper, or just.
                                                                                                   15
                                                                                                            DATED this 24th day of December, 2012.
                                                                                                   16
                                                                                                                                               BROWNSTEIN HYATT FARBER
                                                                                                   17                                          SCHRECK, LLP
                                                                                                   18
                                                                                                                                               By: /s/Kory A. Langhofer
                                                                                                   19                                              Kory A. Langhofer
                                                                                                                                                   John C. West
                                                                                                   20                                              One East Washington Street, Suite 2400
                                                                                                                                                   Phoenix, AZ 85004
                                                                                                   21                                              Attorneys for Plaintiffs E. Paul Whetten,
                                                                                                                                                   et al.
                                                                                                   22

                                                                                                   23

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